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            EXHIBIT F
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From:               R Azcona
To:                 Richard Min; Camilla Redmond; Flores, Rommy
Cc:                 Michelle Jacobson-Kwok; Brittani Lash; Davis, Thad A.; Hesse, Danielle
Subject:            Re: Dias v. Dias - DVRO Granted and Jurisdiction Found - Response Requested
Date:               Thursday, March 6, 2025 2:50:03 PM



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                                                  Leslie Robin Azcona
                                                      Attorney at Law
                                                        SB#164279
                                               3478 Buskirk Avenue #261
                                                  Pleasant Hill, CA 94523
                                           (925) 596 - 0107 (925) 969-9688 FAX
                                                  lr_azcona@yahoo.com




Dear Rommy Flores:

I made a special appearance for Mr. Dias. I am not his attorney. He has not made a general appearance -
so I can not, "withdraw."

I am not authorized to do anything more on Mr. Dias' behalf. I am confirming that you have his contact
information.

Yours truly,



Leslie Robin Azcona
Attorney at Law
(925) 596 - 0107
lr_azcona@yahoo.com




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On Thursday, March 6, 2025 at 10:53:51 AM PST, Flores, Rommy <rflores@gibsondunn.com> wrote:



Richard, et al. –
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Although your client, in seeking to have his petition dismissed with prejudice, agreed to jurisdiction by
California courts over all custody and related proceedings, he nevertheless argued in front of the state
court that he was not subject to jurisdiction by California state courts in direct violation of the conditions
attached to Judge Chen’s order dismissing his petition with prejudice. That bad faith argument has
failed. On March 4, 2025, Judge Thomas Weathers of the Alameda County Superior Court granted Ms.
Cavaco Dias’ temporary restraining order against your client, Casimiro Jose Canha Cavaco Dias and
denied his motion to dismiss based on lack of jurisdiction, ruling that California clearly has jurisdiction
over your client. Please see all relevant documents attached.



Judge Chen’s November 13 Order granting your request for dismissal with prejudice imposed certain
conditions upon your client, including that “Petitioner shall accept service and cooperate as to the service
of custody, visitation, and domestic violence pleadings.” Attached please find the temporary restraining
order and Judge Weathers’ Order regarding jurisdiction. Per Judge Chen’s order, your client is required
to accept service of the Order through you.



Please let us know if you and your client nonetheless will defy the order and contest service through you
on your client’s behalf by tomorrow at 5 PM ET given the gravity of the subject matter.



We note that neither Mr. Min nor Ms. Azcona have filed notices of withdrawal as counsel for Mr. Dias.



We look forward to hearing from you. Ms. Dias reserves all rights regarding Mr. Dias’ continued litigation
misconduct and anyone facilitating it.



Best,



Rommy



Rommy Flores
Of Counsel

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